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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

CADY ARNOLD and MILDRED B.      )
SMITH,                          )
                                )
    Plaintiffs,                 )   CIVIL ACTION FILE NO.
                                )
vs.                             )   ______________________
                                     1:21-cv-04496-LMM
                                )
CAPSHAW MARKETING, LLC;         )
CAPSHAW DEVELOPMENT             )
COMPANY, LLC; JIM MINKEL; KEITH )
RUSSELL; KEVIN BAUMGARD and     )
GAYLE BICKHAM,                  ) JURY TRIAL DEMANDED
                                )
    Defendants.                 )
                                )

                                   COMPLAINT

      Plaintiffs Cady Arnold (“Ms. Arnold”) and Mildred B. Smith (“Ms. Smith”)

(collectively, “Plaintiffs”) file this complaint and show this Court as follows:

                                 INTRODUCTION

      This is an action seeking recompense for the wrongful, tortious and bad faith

actions of Defendants in terminating Plaintiffs’ employment, willfully violating the

FLSA, deceitfully taking Plaintiffs’ real estate commissions, referring to Plaintiff (s)
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by derogatory terms, such as “monkeys,” and undertaking acts of defamation and

intentional infliction of emotional distress.

                                  JURISDICTION

                                           1.

       This case raises a federal question under the Fair Labor Standards Act

(“FLSA”), 29 U.S.C. § 201 et seq., giving this Court original subject matter

jurisdiction pursuant to 28 U.S.C. § 1331.

                                       VENUE

                                           2.

       Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(1) and/or 28

U.S.C. § 1391(b)(2) because Defendants conduct substantial business and reside in

this judicial district.

                                   THE PARTIES

                                           3.

       Ms. Arnold and is a citizen of the State of Georgia and resides within the

district for the Northern District of Georgia, Atlanta Division.

                                           4.

       Ms. Smith is a citizen of the State of Georgia and resides within the district

for the Northern District of Georgia, Atlanta Division.

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                                        5.

      Plaintiffs were at all relevant times employees of Defendant Capshaw

Marketing, LLC, a for-profit limited liability company with a principal place of

business located at 450 Racetrack Road, McDonough, Georgia, 30252

(“Capshaw”). Capshaw may be served with process via its registered agent: Keith

F. Russell, 450 Racetrack Road, McDonough, Georgia 30252.

                                        6.

      Defendant     Capshaw     Development      Company,     LLC,     (“Capshaw

Development”) is a for-profit limited liability company with a principal place of

business located at 450 Racetrack Road, McDonough, Georgia, 30252

(“Capshaw”). Capshaw may be served with process via its registered agent: Keith

F. Russell, 450 Racetrack Road, McDonough, Georgia 30252.

                                        7.

      Jim Minkel (“Mr. Minkel”) resides within the district for the Northern

District of Georgia, Atlanta Division. Mr. Minkel is a corporate officer with

operational control of Capshaw. Mr. Minkel is involved in the day-to-day operations

of Capshaw and has direct responsibility for the supervision of the employees,

including the Plaintiffs. Therefore, Mr. Minkel is an “employer” within the meaning

of the FLSA.

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                                         8.

      Defendant Keith Russell (“Mr. Russell”) resides within the district for the

Northern District of Georgia, Atlanta Division. Mr. Russell is a corporate officer

with operational control of Capshaw and Capshaw Development. Mr. Russell is

involved in the day-to-day operations of Capshaw and has direct responsibility for

the supervision of the employees, including the Plaintiffs. Therefore, Mr. Russell is

an “employer” within the meaning of the FLSA.

                                         9.

      Defendant Kevin Baumgard (“Mr. Baumgard”) resides within the district for

the Northern District of Georgia, Atlanta Division. Mr. Baumgard is a corporate

officer with operational control of Capshaw and Capshaw Development. Mr.

Baumgard is involved in the day-to-day operations of Capshaw and has direct

responsibility for the supervision of the employees, including the Plaintiffs.

Therefore, Mr. Conner is an “employer” within the meaning of the FLSA.

                                        10.

      Defendant Gayle Bickham (“Ms. Bickham”) resides within the district for the

Northern District of Georgia, Atlanta Division and is subject to the jurisdiction of

this Court.



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                                        11.

      Capshaw’s gross income exceeds $500,000.00 per year.

                                        12.

      At all relevant times, Capshaw and/or Capshaw Development, Mr. Minkel,

Mr. Russell, and Mr. Baumgard (hereinafter collectively the “FLSA Defendants”),

and their employees, including Plaintiffs, were engaged in interstate commerce

within the meaning of the FLSA and 29 U.S.C. § 207.

                          GENERAL ALLEGATIONS

                                        13.

      Plaintiffs allege that at all times, Defendants and their servants, employees,

co-venturers, and co-conspirators were acting within the course, scope, purpose,

consent, knowledge, ratification, and authorization of such agency, employment,

joint venture, and conspiracy.

                                        14.

      Plaintiffs allege that at all times, the conduct of Defendants described herein

was oppressive and malicious; with a conscious disregard of employee rights; and

with intent, design, and purpose of injuring its employees. Plaintiffs are further

informed and believe that Defendants, through their owners, officers, managing



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Plaintiffs and/or its supervisors, authorized, condoned, and or ratified the unlawful

conduct. Thus, Defendants’ actions were intentional.

                                      FACTS

                                         15.

      The Plaintiffs are licensed real estate salespersons in Georgia, and employees

of Capshaw and/or Capshaw Development.

                                         16.

      Throughout the period of Plaintiffs’ employment, the FLSA Defendants

willfully misclassified Plaintiffs as independent contractors.

                                         17.

      The FLSA Defendants required mandatory office hours enforced by a fine

system, which did not permit Plaintiffs to leave their assigned model homes for any

reason, including grabbing a quick lunch. Plaintiffs worked exclusively from the

model home of the community in which they worked at the direction of, and using

equipment provided by, Defendants.

                                         18.

      The FLSA Defendants controlled the manner and method in which the

Plaintiffs sold Capshaw and Capshaw Development homes.



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                                            19.

      The FLSA Defendants were engaged in the marketing and selling of finished

lots, which constituted the integral part of Capshaw’s business.

                                        20.

      While working for Defendants, the Plaintiffs were regularly two of Capshaw’s

top agents. Although the Plaintiffs excelled, Capshaw and/or Capshaw Development

treated the Plaintiffs poorly in an unlawful way.

                                            21.

      The Plaintiffs both routinely worked over forty (40) hours a week, as required

by Defendants, but never received overtime at the rate of one-and-one half their

regular rate, as is required by the FLSA.

                                            22.

      The FLSA Defendants knew the hours Plaintiffs were required to be on-site.

                                        23.

      The FLSA Defendants would contact Plaintiffs after regular work hours and

during weekends with work requests.

                                         24.

      The FLSA Defendants knew or should have known that Plaintiffs worked

substantial hours in excess of forty (40) per week.

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                                       25.

      During certain periods, the FLSA Defendants also failed to pay the Plaintiffs

an amount commiserate to minimum wage for the work they performed for

Capshaw.

                                        26.

      Capshaw has exhibited a pattern and practice of intentionally misclassifying

employees as independent contractors and then depriving such employees of their

hard-earned commissions through acts of bad faith and deceit.

                     FACTS SPECIFIC TO MS. ARNOLD

                                        27.

      The FLSA Defendants employed Ms. Arnold from August 8, 2020 to March

11, 2021, as an exclusive real estate agent. A true and correct copy of Ms. Arnold’s

agreement with Capshaw (“Arnold Agreement”) is attached hereto as Exhibit “A.”

                                        28.

      The FLSA Defendants assigned Ms. Arnold exclusively to the Laurel Park

Community (“Laurel Park”).




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                                         29.

      In November 2020, a Capshaw employee told Ms. Arnold that they were

surprised Capshaw hired her for Laurel Park because he thought Capshaw wanted to

hire a white person for the position instead.

                                         30.

      On January 4, 2021, Ms. Yang, a managerial representative of Capshaw told

Ms. Arnold and several other black agents that Capshaw was her “circus,” and the

black agents were her “monkeys.”

                                         31.

      On February 17, 2021, despite enduring the poor, inappropriate treatment

from Capshaw and being a top real estate agent for the company, Capshaw told Ms.

Arnold that she was “benched” and instructed Ms. Arnold to not return to work at

Laurel Park.

                                         32.

      Capshaw did not notify Ms. Arnold what “benching” meant until nearly a

month later in an email from Mr. Cy Conner:




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                                       33.

      The Defendant(s) deprived Ms. Arnold from working on and receiving

commissions for new buyers while still requiring her to work exclusively for

Capshaw and Capshaw’s existing buyers at Laurel Park.

                                       34.

      Defendant(s) also instructed Ms. Arnold to change her hair, and

inappropriately called her “Jamaican girl” and “eyebrows.”




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                                         35.

      Defendant(s) forced many of the homebuyers from which Ms. Arnold would

have received commissions to terminate their agreements to deprive Ms. Arnold of

her commissions. Defendants owe Ms. Arnold at least $246,953.90 in unpaid

commissions, $11,277.68 in unpaid overtime, $16,675.00 in unpaid minimum wage,

plus, liquidated damages, interest, attorneys’ fees and costs.

                       FACTS SPECIFIC TO MS. SMITH

                                         36.

      Capshaw employed Ms. Smith from February 3, 2020, to December 11, 2020,

as an exclusive real estate agent. A true and correct copy of Ms. Smith’s agreement

with Capshaw (“Smith Agreement”) is attached hereto as Exhibit “B.”

                                         37.

      Capshaw assigned Ms. Smith to the Gates at Hastings Bridge and The Orchard

communities.

                                         38.

      Capshaw’s management made fun of Ms. Smith’s vision issues caused by her

diabetes at monthly sales meetings and have generally treated Capshaw’s African

American employees in a racist and inappropriate way.



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                                         39.

      In October 2020, Capshaw’s management told Ms. Smith in a sales meeting

that since she had worked so hard, she could take some time off.

                                         40.

      Ms. Smith took a two-week vacation that was scheduled for December 2,

2020, to December 14, 2020.

                                         41.

      On Saturday, December 11, 2020, Ms. Smith received a phone call from a

Capshaw manager that Capshaw was letting her go for no discernible reason.

                                         42.

      After Capshaw terminated Ms. Smith’s employment, Capshaw pushed back

and delayed Ms. Smith’s closings to deprive her of her commissions under the

Agreement. Defendants owe Ms. Smith at least $98,526.50 in unpaid commissions,

$54,775.24 in unpaid overtime, $13,775.00 in unpaid minimum wage, plus

liquidated damages, interest, attorneys’ fees and costs.

                          COUNT I
         DEFENDANTS’ VIOLATION OF FLSA BY FAILURE TO
                     PAY MINIMUM WAGE

                                         43.

      Plaintiffs repeat and reallege paragraphs 1-42 as if more fully set forth herein.

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                                        44.

      Plaintiffs were employees of the FLSA Defendants who were engaged in

commerce or in the production of goods for commerce.

                                        45.

      The FLSA Defendants controlled the time, manner, and method of Plaintiffs’

employment.

                                        46.

      During certain periods, the Plaintiffs did not receive payments commiserate

to minimum wage for the work performed for the FLSA Defendants.

                                        47.

      The FLSA Defendants knew that Plaintiffs were subject to minimum wage

pay and refused to pay wages equal to minimum wage to Plaintiffs.

                        COUNT II
      DEFENDANTS VIOLATION OF FLSA BY FAILURE TO PAY
                       OVERTIME

                                        48.

  Plaintiffs repeat and reallege paragraphs 1-47 as if more fully set forth herein.

                                        49.

      Plaintiffs were employees of the FLSA Defendants who were engaged in

commerce or in the production of goods for commerce.

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                                        50.

      Plaintiffs were required to work in excess of forty (40) hours per week.

                                        51.

      The FLSA Defendants knew that Plaintiffs were subject to overtime pay.

                                        52.

      The FLSA Defendants knew that Plaintiffs had worked significantly more

than 40 hours per week.

                                        53.

      Plaintiffs were not provided compensation for their overtime work.

                          COUNT III
               QUANTUM MERUIT/UNJUST ENRICHMENT

                                        54.

  Plaintiffs repeat and reallege paragraphs 1-53 as if more fully set forth herein.

                                        55.

      The Arnold Agreement and Smith Agreement states the following procedure

for an agent’s commissions after the date of termination:




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                                       56.

      Defendant Capshaw and/or Capshaw Development improperly interfered

with contracts of third parties so as to unfairly manipulate the timeline when

Plaintiffs’ commissions would be earned and payable.

                                        57.

       Defendant Capshaw and/or Capshaw Development has failed to provide

commission payments to Plaintiffs.

                                       58.

      Defendant Capshaw and/or Capshaw Development wrongfully obtained

commissions of agents by artfully and deceitfully terminating agents when they have

secured agreements in advance of the date of termination so that Defendants can pay

trailing fees of $500 in lieu of the full commissions earned by agents Defendants

have terminated.

                                         59.

      Defendants Capshaw and/or Capshaw Development have deprived Plaintiffs

and other terminated agents of commissions through bad faith terminations.




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                                           60.

       Because of their wrongful acts, Defendant(s) received a benefit, at each

Plaintiffs’ expense, under circumstances that would make it unjust for Defendant(s)

to retain the benefit without paying Plaintiffs for their efforts.

                                           61.

      Defendant(s) have exhibited a pattern and practice of improperly deriving

commissions of agents through terminations and other schemes.

                       COUNT IV
 BREACH OF IMPLIED DUTY OF GOOD FAITH AND FAIR DEALING

                                           62.

      Plaintiffs repeat and reallege paragraphs 1-61 as if more fully set forth herein.

                                           63.

      “Every contract implies a covenant of good faith and fair dealing in the

contract’s performance and enforcement.” Ceasar v. Wells Fargo Bank, N.A., 322

Ga. App. 529, 533 (2013).

                                           64.

      “Good faith is a shorthand way of saying substantial compliance with the

spirit, and not merely the letter, of a contract.” Bowman v. Walnut Mountain Prop.

Owners Ass’n, Inc., 251 Ga. App. 91, 95 (2001).


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                                         65.

      Defendant Capshaw and/or Capshaw Development have breached their

implied duty of good faith and fair dealing by “benching” Ms. Arnold and

terminating Ms. Arnold and Ms. Smith in bad faith to deprive them of their

commissions.

                                         66.

      Defendant Capshaw and/or Capshaw Development consistently recognized

Plaintiffs as top agents for Defendants, but they were improperly used by Defendants

to secure agreements on houses with no intention of paying commissions Plaintiffs

earned for their work and expertise.

                           COUNT V
                   THEFT BY DECEPTION AND
           CONSPIRACY TO COMMIT THEFT BY DECEPTION

                                         67.

      Plaintiffs repeat and reallege paragraphs 1-66 as if more fully set forth herein.

                                         68.

      Plaintiffs earned commissions for homes that were set to close after their

termination.




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                                        69.

       Plaintiffs were the procuring and predominant cause of the ultimate sale of

the homes.

                                        70.

       Defendant(s) worked together to use deceptive means to wrongfully interfere

with the contracts between Plaintiffs and prospective homebuyers with the express

purpose to wrongfully deprive Plaintiffs of their commissions.

                                         71.

       Defendants contacted homebuyers under contract with the Plaintiffs to entice

them to enter into contracts with other agents so that Defendants could deprive

Plaintiffs of their commissions.

                                        72.

       Defendant(s) exhibited improper actions and wrongful conduct without

privilege by forcing homebuyers under contract with Plaintiffs to delay closing dates

or terminate contracts altogether. Defendants also engaged in illegal steering which

also caused Plaintiffs to lose commissions, and which terminated contracts with

Plaintiffs.




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                                         73.

       Defendant(s) acted purposely and with malice with the intent to injure the

Plaintiffs.

                                         74.

       Defendant(s) had a willful scheme to induce breaches of contractual

obligations and cause third parties to discontinue and fail to enter anticipated

business relationships from which the Plaintiffs would benefit.

                                         75.

       Defendant(s)’ acts of conspiracy and theft by conversion breached a private

duty to Plaintiff and caused damage to the Plaintiffs by depriving them of their

commissions.

                        COUNT VI
   VIOLATION OF BROKERAGE REATIONSHIPS IN REAL ESTATE
                TRANSACTIONS ACT (BRETTA)

                                         76.

   Plaintiffs repeat and reallege paragraphs 1-75 as if more fully set forth herein.

                                         77.

       Defendant Capshaw and/or Capshaw Development wrongfully interfered

with the contracts for the sale of homes with the express purposes of depriving

Plaintiffs of earned commissions.

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                                         78.

      Defendant Capshaw and/or Capshaw Development have received and

retained money for the sale of homes for which Plaintiffs were the procuring cause.

                                               79.

      Demand for repayment has been made by Plaintiffs to Defendant Capshaw

and/or Capshaw Development, and such demand was refused.

                                  COUNT VII
                                 DEFAMATION

                                         80.

       Plaintiffs repeat and reallege paragraphs 1-79 as if more fully set forth here

                                         81.

      Defendant Ms. Bickham made defamatory statements regarding Ms. Arnold

to third party purchasers alleging that Ms. Arnold “didn’t know what she was doing”

and that Ms. Arnold “was giving false information” to purchasers.

                                         82.

      Ms. Bickham’s statements were made with the approval and authorization of

Capshaw and/or Capshaw Development, Mr. Baumgard, Mr. Minkel, and Mr.

Russell.

                                         83.

      The statements false and intended to paint Ms. Arnold in a negative light.
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                                           84.

       Ms. Bickham’s statements were to third party purchasers and are not

privileged communication.

                                          85.

       Due to Ms. Bickham’s statements, certain third-party purchasers canceled

contracts with Ms. Arnold.

                            COUNT VIII
            INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

                                          86.

       Plaintiffs repeat and reallege paragraphs 1-85 as if more fully set forth herein.

                                          87.

       Defendant(s)’, and each Defendant’s individually exhibited a concerted

pattern of discriminatory racial comments, failure to provide fair working

conditions, thefts of commissions and acts of defamation were (1) intentional or

reckless and (2) extreme and outrageous.

                                          88.

       Due to Defendant(s)’ actions, Plaintiffs have suffered severe emotional

distress.




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                         COUNT IX
      ATTORNEYS FEES, LIQUIDATED DAMAGES AND PUNIIVE
                         DAMAGES

                                          89.

      Plaintiffs repeat and reallege paragraphs 1-88 as if more fully set forth herein.

                                         90.

      Pursuant to U.S.C.A. § 216(b), any employer who violates the provisions of

29 U.S.C.A. §§ 206 and 207 shall be liable to the employees affected in the amount

of their unpaid minimum wages, or their unpaid overtime compensation, and in an

additional equal amount as liquidated damages.

                                          91.

      Defendant(s) willfully violated the provisions of 29 U.S.C.A. §§ 206 and 207

and are liable to the Plaintiffs in the amount of their unpaid minimum wages and

unpaid overtime compensation, and in an additional equal amount as liquidated

damages.

                                          92.

      Defendant(s) acted in bad faith, were stubbornly litigious and caused Plaintiffs

unnecessary trouble and expense and Plaintiffs should therefore be entitled to their

reasonable attorneys’ fees and costs of litigation.



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                                         93.

      Defendant(s)’ acts as described herein were intentional, reckless, and

malicious and punitive damages should be assessed against each Defendant in the

amount of at least $250,000 to deter such outrageous conduct in the future.

      WHEREFORE, Plaintiffs pray of this honorable Court for judgment against

Defendants as follows:

   1. For Defendants to pay Plaintiffs their wages, interest and attorney’s fees

      recoverable at law due to Defendants’ willful failure to pay minimum wage;

   2. For Defendants to pay Plaintiffs their wages, interest and attorney’s fees

      recoverable at law due to Defendants’ willful failure to pay overtime;

   3. Judgment and damages in favor of Plaintiffs based upon equity;

   4. Judgment and damages in favor of Plaintiffs based upon Defendants’ breach

      of contracts obligations with Plaintiffs;

   5. Judgment and damages in favor of Plaintiffs based upon clams of conspiracy

      and theft by deception;

   6. Judgment and damages in favor of Plaintiffs based upon violations of

      BRETTA;

   7. Judgment and damages in favor of Plaintiffs based upon claims of defamation;



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  8. Judgment and damages in favor of Plaintiffs based upon claims of intentional

     infliction of emotional distress;

  9. For Defendants to pay all costs of this action, including reasonable attorneys’

     fees as required by law;

  10.For an award of punitive damages against Defendant(s);

  11.For trial by jury of all issues; and

  12. For any further relief this Court deems equitable and just.

     Respectfully submitted this 29th day of October, 2021.

FREED GRANT LLC

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